3/13/2017 Case 1:17-CcVR0289Grrbs hitch DOG vested inh oobyladkO4/Ak Mary NRage 1 of 5

 

Rikers guards attacked, inmate slashed in
bloody weekend

BY STEPHEN REX BROWN REUVEN BLAU
NEW YORK DAILY NEWS Tuesday, September 13, 2016, 4:00 AM

Video captures inmates attacking Rikers
guards

NY Daily News

Oo

 

This is no cause for cell-bration.

Days after Mayor de Blasio touted an "astonishing" turnaround at several units in Rikers Island, two inmates unleashed
simultaneous attacks against correction officers in an apparent attempt to get transferred out of one of the specialized
facilities, sources say.

Around the same time, an inmate was nearly killed after he was slashed in the neck in a different building at the troubled jail
complex, capping a bloody Friday.

The disturbing mayhem began at 6:22 p.m. when inmate Tyquan Lesane, 20, assaulted Correction Officer Ernesto Brands,

 

delivering several brutal blows to his face inside the George R. Vierno Center on Rikers Island, a video obtained by the Daily

News shows.
At that same moment, inmate Ibrahim Doombouya, 18, who is also a listed as a member of the Blocds gang, assaulted

correction officer Timothy Edmund, 26, splashing him with an unknown liquid and striking him in the face. Edmund's then

blasted Doombouya with pepper spray, “which achieved the desired effect," documents show.

http://www.nydailynews .com/new-york/rikers-quards-attacked-inmate-slashed-bloody-weekend-article- 1.2789437 4/5
3/13/2017 Case 1:17-CVFO@89@rbsleftackdd OGtate BHed inf ooby lexdk Ghd /AW ally NRage 2 of 5

pee es ad mE 5 Me = eee 1

a t a} —

     

A bloody Friday on Rikers Island featured two brutal assaults on correction officers by Bloods gang members, as well as
a ghastly slashing of an inmate, records show.

The inmates were communicating with each other across a partition moments before the assaults, a source said.

“They occurred simultaneously. It was a planned attack,” a source familiar with the incident said.

Photos of Edmund's face shows blood dripping from his left cheek. He needed three stitches to close the wound, a source
said. Brands was left with a badly swollen eye.

Correction officials were trying to determine why the inmates had hatched the violent plot.

But a source said the inmates were not fans of the new units that are a
central component of Correction Commissioner Joseph Ponte’s plan to
get the jail under control.

“From what I know they don't like the secure unit and they want to get
out,” a source said.

“It's not a general population area ... (where) you have more gang
members with you. The commissary is different. I believe the phone is
different.”

Later Friday, inmates James Hatcher, 30, and Shawn Young, 32, gotina

fight in a holding pen in the Anna M. Kross Center at 7:50 p.m.

 

Correction Officer Ernesto Brands suffered a
swollen eye in one of the two Friday assaults.

http:/www.nydailynews.com/new-york/rikers-guards-attacked-inmate-slashed- bloody-weekend-article- 1.2789437

2/5
3/13/2017 Case 1:17-CVpRaSQ ards btGcke) ARBIAMEdhn Goody QkAA/ ALDI NRage 3 of 5

   

‘io

The guard assaults and the ghastly slashing of an inmate came only eight days after Mayor de Blasio visited the jail and
touted reforms.

Hatcher suffered a gruesome slice in his neck from a half-inch razor.

Photos obtained by the Daily News of Hatcher showed a shocking stream of blood from his neck. He was rushed to Bellevue
Hospital where he underwent emergency surgery, a source said.

The violence was not limited to jails on Rikers Island.

On Monday, the city’s jail oversight board blasted the department for violating its so-called "Minimum Standards"

regulations by placing the entire Brooklyn Detention Complex on lockdown since Friday.

http:/Awww.nydailynews.com/new-york/rikers-guards-attacked-inmate-slashed-bloody-weekend-article- 1.2789437 3/5
3/13/2017 Case 1:17-CVRiRa8 Q2rds backed) MAetEsAbHedlinGloody Waekdad/ NE Hhify NRage 4 of 5

 

The gory day follows the mayor's recent pronouncement of an “astonishing” Rikers turnaround,

The jailwide lockdown was issued after five slashings in less than two weeks. During the lockdown, inmates are blocked from
medical visits, telephone calls, recreation, and religious gatherings.

On Sept. 1, de Blasio toured the Anna M. Kross Center, touting "extraordinary progress" and "long periods without any
incident" at two units.

He also hailed a unit in GRVC that went "214 days without a single incident," calling the streak "astonishing."

But the number of stabbing and slashings has actually gone up by 21%, from 108 in fiscal year 2015 to 131 in fiscal year 2016,
records show.

http:/Awww.nydailynews.com/new-york/rikers-guards-attacked-inmate-slashed-bloody-weekend-article- 1.2789437 4/5
3/13/2017

Case 1:17-CcV2S9@rlsbixckda Omale vented rbloobyllag.Ga/2d/daty NRage 5 of 5

 

Department of Correction Commissioner Joseph Ponte insists his ballyhooed changes are working. (HOWARD SIMMONS)

Critics say the violence is actually far worse but many of the cases are being downgraded or not reported at all.

The News recently highlighted an unusual pattern of incidents at the jail being downgraded, raising concerns among jail staff
of statistic manipulation.

"These are numbers never before seen in the history of Rikers Island,” de Blasio said.

The Department of Correction has strongly denied any number- fudging.

As for the latest violence, Ponte insisted his ballyhooed changes are working.

“While no assault on an officer or other staff is ever acceptable, our reforms are working to reduce jail violence," said Ponte,
noting assaults on staff resulting in serious injury have dropped 40% across the department in the first eight months of this

year compared to last.

 

© 2016 New York Daily News

http:/Avww.nydailynews.com/new-york/rikers-guards-attacked-inmate-slashed-bloody-weekend-article-1.2789437 ofS
